                                                                                 EXHIBIT "4"
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                                                                       Summary Report
                                                                                                                                                      Generated On : 6/14/2021

Property Information
Folio:                                      35-3017-040-2720

                                            10429 NW 63 TER
Property Address:
                                            Doral, FL 33178-0000

                                            DIDIMO ANTONIO BRACHO
Owner                                       URDANETA
                                            ANA DELIA BRACHO PRIMERA
                                            10429 NW 63 TER
Mailing Address
                                            DORAL, FL 33178 USA
                                            4802 TRADITIONAL NBHD
PA Primary Zone
                                            DISTRICT
                                            0410 RESIDENTIAL - TOTAL VALUE
Primary Land Use
                                            : TOWNHOUSE
Beds / Baths / Half                         4/3/1
Floors                                      3
                                                                                                                           2020 Aerial Photography
Living Units                                1                                                                                                             200ft
Actual Area                                 2,082 Sq.Ft
Living Area                                 1,862 Sq.Ft
                                                                                           Taxable Value Information

Adjusted Area                               1,862 Sq.Ft                                                                                2021               2020               2019

Lot Size                                    4,067 Sq.Ft                                    County

Year Built                                  2017                                           Exemption Value                          $50,000                  $0                 $0
                                                                                           Taxable Value                          $330,000           $380,000           $423,000
Assessment Information                                                                     School Board
Year                                        2021               2020               2019     Exemption Value                          $25,000                  $0                 $0
Land Value                                      $0                $0                $0     Taxable Value                          $355,000           $380,000           $423,000
Building Value                                  $0                $0                $0     City
XF Value                                        $0                $0                $0     Exemption Value                          $50,000                  $0                 $0

Market Value                           $380,000           $380,000           $423,000      Taxable Value                          $330,000           $380,000           $423,000

Assessed Value                         $380,000           $380,000           $423,000      Regional
                                                                                           Exemption Value                          $50,000                  $0                 $0
Benefits Information                                                                       Taxable Value                          $330,000           $380,000           $423,000
Benefit                            Type                       2021      2020      2019
Homestead                          Exemption              $25,000                          Sales Information

Second Homestead                   Exemption              $25,000                          Previous Sale              Price   OR Book-Page           Qualification Description

Note: Not all benefits are applicable to all Taxable Values (i.e. County, School           07/31/2017            $580,300       30644-0836        Qual by exam of deed
Board, City, Regional).


Short Legal Description
 LANDMARK AT DORAL FIRST ADDITION
 PB 171-026 T-23556
 LOT 1 BLK 97
 LOT SIZE 4067 SQ FT M/L
 FAU 35 3017 038 2110 TGHRU 2170 &

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Version:
